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 LEONARD
  STREET




     March 20, 2017


     Sent via email: maria_simeone@mad.uscourts.gov ; mariliz montes@mad.uscourts.gov
     Sen via overnight mail

    The Honorable Leo T. Sorokin
    United States District Court, District of Massachusetts
    John Joseph Moakley U.S. Courthouse
    Courtroom #13, 5th Floor
    1 Courthouse Way, Suite 2300
    Boston, MA 02210

     Re:      Case Name:         Soft-Aid, Inc. v. SAM-ON-DEMAND, LLC et al
              Case Number:       1:14-cv-10419-LTS

    Dear Judge Sorokin:

    This correspondence is intended to respond to the docket entry at Filing No. 188 made by
    the Court in the above captioned matter. The response has come in letter form for two
    reasons. First, I am not admitted to practice in Massachusetts. Second, following the
    bankruptcy filing of Sam-On-Demand, LLC, the employment of McGrath North and Hinckley
    Allen & Snyder, LLP came to end. At this point neither firm represents the bankruptcy estate
    of Sam-On-Demand, LLC.

    In response to your order, and to avoid any further confusion, Sam-On-Demand does not
    wish to proceed with trial of its counterclaims while the Plaintiffs claims are subject to the
    automatic stay. Sam-On-Demand would reserve its rights and defenses with respect to its
    counterclaims and the Plaintiff's claims and nothing in this letter should be deemed a waiver
    of any rights or remedies Sam-On-Demand may possess. Sam-On-Demand would also
    reserve its rights with respect to the scope and applicability of the automatic stay with
    respect to Sam-On-Demand's counterclaims.

    Separately, I have communicated with Mr. David Manfield's personal Chapter 13 bankruptcy
    attorney, John T. Turco, and he asked me to relay to the Court that he is in agreement with
    my assessment that both the Plaintiff's and Defendant's causes of action should be stayed
    pending further adjudication in the Bankruptcy Court. Potentially the parties will come to a
    mutually acceptable outcome in the bankruptcy cases or, or if not and alternatively, the
    Bankruptcy Court may lift the automatic stay to proceed with litigation in your Court.

    If necessary, I would make myself available to answer any additional questions, though I will
    not be entering an appearance in this matter at this time.



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    Sincerely,

    Stinson Leonard Street LLP




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